Nebraska Supreme Court Online Library
www.nebraska.gov/apps-courts-epub/
06/15/2021 12:08 AM CDT




                                                       - 940 -
                             Nebraska Court of Appeals Advance Sheets
                                  29 Nebraska Appellate Reports
                                        SCHMUNK v. AQUATIC SOLUTIONS
                                             Cite as 29 Neb. App. 940



                         Tosha Schmunk and Jason Schmunk, appellees,
                                v. Aquatic Solutions, appellant.
                                                   ___ N.W.2d ___

                                         Filed June 8, 2021.     No. A-20-642.

                 1. Small Claims Court: Appeal and Error. The district court and higher
                    appellate courts generally review judgments from a small claims court
                    for error appearing on the record.
                 2. Judgments: Appeal and Error. When reviewing a judgment for errors
                    appearing on the record, the inquiry is whether the decision conforms
                    to the law, is supported by competent evidence, and is neither arbitrary,
                    capricious, nor unreasonable.
                 3. ____: ____. In instances when an appellate court is required to review
                    cases for error appearing on the record, questions of law are nonetheless
                    reviewed de novo on the record.
                 4. Attorney and Client: Actions. A legal proceeding in which a party is
                    represented by a person not admitted to practice law is a nullity and is
                    subject to dismissal.
                 5. Attorneys at Law: Attorney and Client. A licensed member of the
                    Nebraska bar must represent a limited liability company in the courts of
                    this state.
                 6. Attorney and Client: Parties: Appeal and Error. When a layperson
                    appeals both in his or her own behalf and on behalf of a business entity,
                    an appellate court dismisses the appeal as to the entity but considers the
                    merits of the appeal as to the errors assigned by the layperson in his or
                    her own behalf.
                 7. Actions: Pleadings: Parties. The character in which one is a party to
                    a suit, and the capacity in which a party sues, is determined from the
                    allegations of the pleadings and not from the caption alone.
                 8. Courts: Actions: Parties: Complaints: Pleadings: Records. If the
                    capacity in which a party sues is doubtful, a court may examine the
                    complaint, the pleadings as a whole, and even the entire record.
                                  - 941 -
         Nebraska Court of Appeals Advance Sheets
              29 Nebraska Appellate Reports
                   SCHMUNK v. AQUATIC SOLUTIONS
                        Cite as 29 Neb. App. 940
 9. Actions: Pleadings: Parties. When the pleadings show a cause of
    action by a person in his individual capacity, a court may reject words
    indicating representative capacity.
10. Names. Doing business under another name or several names does
    not create an entity separate and distinct from the person operating the
    business.
11. Attorney and Client: Parties. The prohibition on representation by a
    layperson does not apply to a sole proprietorship where the owner of
    that entity is representing his or her own interests.

   Appeal from the District Court for Cheyenne County, Derek
C. Weimer, Judge, on appeal thereto from the County Court
for Cheyenne County, Randin R. Roland, Judge. Judgment
of District Court reversed and cause remanded for further
proceedings.
   Drew Lefler, pro se.
   No appearance for appellees.
   Pirtle, Chief Judge, and Moore and Bishop, Judges.
   Moore, Judge.
                      INTRODUCTION
   Tosha Schmunk and Jason Schmunk filed an action in
the county court for Cheyenne County, sitting as a small
claims court, against “Drew Lefler, Aquatic Solutions.” We
have referred to the party sued in this case as “Lefler,” except
when otherwise necessary to our discussion of the issues on
appeal. The small claims court entered judgment in favor of
the Schmunks. Lefler appealed, pro se, to the district court,
which dismissed his appeal. Lefler then appealed to this court.
For the reasons set forth herein, we reverse the district court’s
dismissal of Lefler’s appeal and remand the cause for fur-
ther proceedings.
                 STATEMENT OF FACTS
   On November 21, 2019, the Schmunks filed an action in
the small claims court, alleging that “the Defendents [sic]
                             - 942 -
        Nebraska Court of Appeals Advance Sheets
             29 Nebraska Appellate Reports
                SCHMUNK v. AQUATIC SOLUTIONS
                     Cite as 29 Neb. App. 940
company” used deceptive trade practices in the marketing
of a vacuum cleaner. Service was accomplished on “Aquatic
Solutions % Drew Le[f]ler.”
   An evidentiary hearing was held, and the small claims court
heard testimony from the Schmunks and Lefler and received
several documentary exhibits. In his testimony, Lefler asserted
that the Schmunks failed to properly and timely cancel their
order for the vacuum and were bound by the parties’ contract
to pay for it. On June 11, 2020, the small claims court entered
judgment in favor of the Schmunks in the amount of $2,883.65
plus costs. The order specified that judgment was entered
against “Aquatic Solutions.”
   Lefler appealed to the district court. The notice of appeal
identifies the appellant as “Drew Lefler.” Lefler appeared pro
se at the district court hearing, during which the bill of excep-
tions from the small claims court hearing was received as
an exhibit.
   On August 20, 2020, the district court entered an order
dismissing Lefler’s appeal. In its order, the court first consid-
ered Lefler’s capacity to appeal. The court deemed that the
Schmunks’ small claims complaint had identified both Aquatic
Solutions and Lefler as defendants, but that the small claims
court had entered judgment only as to Aquatic Solutions
with no monetary judgment against Lefler. The district court
observed that “Aquatic Solutions is some type of business
entity and Drew Lefler is somehow affiliated with the leader-
ship of that business entity.” The court further observed that
there was no evidence that Lefler was an attorney licensed in
Nebraska. The court did not then analyze its jurisdiction under
Neb. Rev. Stat. § 25-1315(1) (Reissue 2016), but, instead,
it determined that Lefler had engaged in the unauthorized
practice of law in representing Aquatic Solutions. The court
cited Steinhausen v. HomeServices of Neb., 289 Neb. 927, 857
N.W.2d 816 (2015), for the proposition that an individual can
represent himself or herself in legal proceedings in his or her
own behalf, but one who is not an attorney cannot represent
                             - 943 -
        Nebraska Court of Appeals Advance Sheets
             29 Nebraska Appellate Reports
                SCHMUNK v. AQUATIC SOLUTIONS
                     Cite as 29 Neb. App. 940
others. The court further cited Steinhausen for the proposition
that a legal proceeding in which a party is represented by a
person not admitted to practice law is a nullity and is subject
to dismissal. The court found that while Aquatic Solutions had
the right to pursue an appeal of the judgment entered against
it, it did not do so with the assistance of a licensed attorney,
and that the filings on its behalf by Lefler were not proper as
he was not a licensed attorney. Accordingly, the court con-
cluded that Lefler’s appeal was a nullity and dismissed it on
that basis.
    Lefler appealed to this court. The notice of appeal identi-
fies the party appealing as “Drew Lefler.” Lefler also filed
a motion for summary reversal and vacatur of the district
court’s August 2020 order dismissing his appeal and the small
claims court’s June 2020 order entering judgment “on grounds
that they contain two errors, one foundational and the other
a misunderstanding of fact,” which “when corrected will end
this long-term dispute.” This court ordered the “appellant” to
show cause why it should not dismiss the appeal because the
appellant had not appeared by an attorney licensed to prac-
tice law in Nebraska. In his affidavit in response to the show
cause order, Lefler asserted that he operates Aquatic Solutions
as a sole proprietorship, that there is no legal entity separate
from himself for Aquatic Solutions, and that it is therefore
permissible for him to represent himself. He attached a copy
of his dealer application for Equity Sales Finance, Inc., which
indicates that Aquatic Solutions is operating as a sole propri-
etorship. This court determined that the appeal could proceed,
but we overruled Lefler’s motion for summary reversal. The
caption on the cover of Lefler’s subsequently filed appellate
brief identified the appellant as “AQUATIC SOLUTIONS
c/o DREW LEFLER.” He also identified the appellant on the
cover page and in the signature blocks following the conclu-
sion and certificate of service pages of his brief as “Drew
Lef[l]er d/b/a Aquatic Solutions.”
                              - 944 -
        Nebraska Court of Appeals Advance Sheets
             29 Nebraska Appellate Reports
                SCHMUNK v. AQUATIC SOLUTIONS
                     Cite as 29 Neb. App. 940
                  ASSIGNMENT OF ERROR
  Lefler asserts, consolidated and restated, that the district
court erred in dismissing his appeal from the small claims court.
                   STANDARD OF REVIEW
   [1-3] The district court and higher appellate courts generally
review judgments from a small claims court for error appear-
ing on the record. Flodman v. Robinson, 22 Neb. App. 943,
864 N.W.2d 716 (2015). See, also, Neb. Rev. Stat. §§ 25-2733and 25-2807 (Reissue 2016); Hara v. Reichert, 287 Neb. 577,
843 N.W.2d 812 (2014). When reviewing a judgment for errors
appearing on the record, the inquiry is whether the decision
conforms to the law, is supported by competent evidence, and
is neither arbitrary, capricious, nor unreasonable. Schaefer
Shapiro v. Ball, 305 Neb. 669, 941 N.W.2d 755 (2020).
However, in instances when an appellate court is required to
review cases for error appearing on the record, questions of
law are nonetheless reviewed de novo on the record. Millard
Gutter Co. v. Farm Bureau Prop. &amp; Cas. Ins. Co., 295 Neb.
419, 889 N.W.2d 596 (2016).
                           ANALYSIS
   Lefler asserts that the district court erred in dismissing
his appeal from the small claims court. In addressing the
issues raised in Lefler’s appeal, we first review Steinhausen v.
HomeServices of Neb., 289 Neb. 927, 857 N.W.2d 816 (2015),
the case relied on by the district court in dismissing Lefler’s
appeal from the judgment entered by the small claims court
against Aquatic Solutions. Then, we consider generally whether
a layperson can represent a sole proprietorship. Finally, assum-
ing for the sake of our analysis that Aquatic Solutions is a sole
proprietorship, we turn to the issues of Lefler’s capacity to rep-
resent Aquatic Solutions and the parties to this appeal.
   In Steinhausen, the Nebraska Supreme Court considered
a pro se appeal brought by a layperson who was the sole
member and registered agent of a limited liability com-
pany (LLC). The layperson, Matthew M. Steinhausen, filed
                             - 945 -
        Nebraska Court of Appeals Advance Sheets
             29 Nebraska Appellate Reports
                SCHMUNK v. AQUATIC SOLUTIONS
                     Cite as 29 Neb. App. 940
a civil complaint stating claims of libel, false light inva-
sion of privacy, and tortious interference with a business
relationship against certain named defendants. The caption
identified the plaintiff as “‘MATTHEW M. STEINHAUSEN
D/B/A STEINHAUSEN HOME INSPECTIONS, LLC,’” and
the complaint appeared to allege wrongs committed against
both Steinhausen and the LLC. Steinhausen, 289 Neb. at 932,
857 N.W.2d at 823. The trial court granted summary judg-
ment in favor of the defendants, and Steinhausen appealed.
The caption on the cover of Steinhausen’s appellate brief
identified the appellant as “‘MATTHEW M. STEINHAUSEN;
D/B/A Steinhausen Home Inspections, LLC,’” and the notice
of appeal stated that the party appealing was “‘Plaintiff,
Matthew M. Steinhausen.’” Steinhausen, 289 Neb. at 933,
857 N.W.2d at 824. This court entered an order to show cause
why the appeal should not be dismissed because the LLC had
not appeared by an attorney licensed in Nebraska. Based on
the parties’ responsive briefs, we determined that cause had
been shown for the appeal to proceed, but we cautioned that
Steinhausen could only proceed pro se on behalf of his own
individual claims and not on behalf of the LLC. Subsequently,
the Nebraska Supreme Court moved the appeal to its own
docket under its statutory authority to regulate the caseloads
of this state’s appellate courts.
   [4] In addressing Steinhausen’s capacity to appeal, the
Nebraska Supreme Court first addressed the representation
of a business entity, specifically an LLC, by a layperson. The
Supreme Court noted Neb. Rev. Stat. § 7-101 (Reissue 2012),
which prohibits the practice of law by those not “previously
admitted to the bar by order of the Supreme Court of this
state.” The court also noted Neb. Rev. Stat. § 7-110 (Reissue
2012), which provides that “[p]laintiffs shall have the lib-
erty of prosecuting, and defendants shall have the liberty of
defending, in their proper persons.” The court stated, “The
prohibition of the unauthorized practice of law is not for the
benefit of lawyers. Prohibiting the unauthorized practice of law
protects citizens and litigants in the administration of justice
                              - 946 -
        Nebraska Court of Appeals Advance Sheets
             29 Nebraska Appellate Reports
                 SCHMUNK v. AQUATIC SOLUTIONS
                      Cite as 29 Neb. App. 940
from the mistakes of the ignorant on the one hand and the
machinations of the unscrupulous on the other.” Steinhausen
v. HomeServices of Neb., 289 Neb. 927, 935, 857 N.W.2d 816,
825 (2015). It stated further that a legal proceeding in which a
party is represented by a person not admitted to practice law is
a nullity and is subject to dismissal. Id.   [5] The Nebraska Supreme Court noted that the prohibi-
tion on representation by a layperson applies to entities, and
it reviewed Nebraska case law previously applying that rule
to find that a corporation, a partnership, and a trust must be
represented by a member of the bar. The Supreme Court also
observed that other courts have held that LLC’s, including
those with a single member, must be represented in court by
a licensed attorney. It then concluded that a licensed member
of the Nebraska bar must represent a limited liability company
in the courts of this state. Steinhausen, supra. In doing so, the
court observed that LLC’s are entities distinct from their mem-
bers, have the capacity to sue and be sued in their own name,
are abstractions like corporations, and are a form of business
entity conferring the significant privilege of limited liability on
their members. The court declined to recognize an exception
for LLC’s with a single member, stating that “having called
into being a new juridical person, Steinhausen cannot ignore
[the LLC’s] separate existence when it suits him.” Id. at 937,
857 N.W.2d at 826.
   [6-9] The Nebraska Supreme Court determined that any
appeal by Steinhausen on behalf of the LLC was a nullity,
but that he could prosecute an appeal in his own behalf. It
noted that when a layperson appeals both in his or her own
behalf and on behalf of a business entity, an appellate court
dismisses the appeal as to the entity but considers the merits
of the appeal as to the errors assigned by the layperson in his
or her own behalf. Steinhausen, supra. Accordingly, the court
also considered whether Steinhausen’s appeal was solely for
the LLC, and in doing so, it noted the confusion as to the
identity of the plaintiff or plaintiffs apparent on the face of the
pleadings and other filings in the case. The court stated that
                             - 947 -
        Nebraska Court of Appeals Advance Sheets
             29 Nebraska Appellate Reports
                SCHMUNK v. AQUATIC SOLUTIONS
                     Cite as 29 Neb. App. 940
the character in which one is a party to a suit, and the capacity
in which a party sues, is determined from the allegations of
the pleadings and not from the caption alone. Id. If the capac-
ity in which a party sues is doubtful, a court may examine
the complaint, the pleadings as a whole, and even the entire
record. Id. When the pleadings show a cause of action by a
person in his individual capacity, a court may reject words
indicating representative capacity. Id. The Supreme Court con-
sidered the parties’ arguments and examined the record as a
whole before concluding that Steinhausen had brought the
action and attempted to appeal on behalf of both himself and
the LLC. The court dismissed his appeal on behalf of the LLC
as a nullity and proceeded to consider the merits only of those
assigned errors relating to claims Steinhausen could make in
his own behalf.
    The instant case also presents a situation where the plead-
ings and other filings reveal confusion as to the identity
of a party below (here, the defendant or defendants). The
district court determined that the complaint identified both
“Aquatic Solutions” and “Drew Lefler” as defendants but that
the small claims court entered judgment only against “Aquatic
Solutions,” which was “some type of business entity,” and
there was no monetary judgment against “Drew Lefler.” The
district court concluded that while “Aquatic Solutions” had the
right to appeal the judgment against it, the filings made on its
behalf by “Mr. Lefler” were not proper as he was not a licensed
attorney and thus its appeal was a nullity.
    In response to this court’s order to show cause, Lefler filed
an affidavit, in which he swore under oath that he operates
Aquatic Solutions as a sole proprietorship and that Aquatic
Solutions is not a separate legal entity. Lefler identified a
Nebraska sales tax permit number and a federal “EIN.” Lefler
asserted that he and Aquatic Solutions are the same party. He
also attached a copy of a dealer finance application which iden-
tified Aquatic Solutions as a sole proprietorship.
    [10] Black’s Law Dictionary defines “sole proprietorship”
as “[a] business in which one person owns all the assets, owes
                              - 948 -
        Nebraska Court of Appeals Advance Sheets
             29 Nebraska Appellate Reports
                SCHMUNK v. AQUATIC SOLUTIONS
                     Cite as 29 Neb. App. 940
all the liabilities, and operates in his or her personal capac-
ity.” Black’s Law Dictionary 1607 (10th ed. 2014). “A sole
pro­prietorship has no separate legal existence or identity apart
from the sole proprietor.” 18 C.J.S. Corporations § 4 at 353
(2018). While we have found no Nebraska cases specifically
defining “sole proprietorship,” both the Nebraska Supreme
Court and this court have previously recognized that doing
business under another name or several names does not cre-
ate an entity separate and distinct from the person operating
the business. Hall v. Auto-Owners Ins. Co., 265 Neb. 716, 658
N.W.2d 711 (2003); Toulousaine de Distrib. v. Tri-State Seed
&amp; Grain, 2 Neb. App. 937, 520 N.W.2d 210 (1994). See, also,
Duval v. Midwest Auto City, Inc., 425 F. Supp. 1381 (D. Neb.
1977) (individual who does business as sole proprietor under
one or several names remains one person, personally liable for
all his or her obligations). Other courts have held that sole pro-
prietorships may litigate pro se under the reasoning that a sole
proprietorship has no legal existence separate from its owner.
See, e.g., U.S. v. Hagerman, 545 F.3d 579 (7th Cir. 2008);
RZS Holdings AVV v. PDVSA Petroleo S.A., 506 F.3d 350 (4th
Cir. 2007); Lattanzio v. COMTA, 481 F.3d 137 (2d Cir. 2007);
National Ind. Theatre v. Buena Vista Distribution, 748 F.2d
602 (11th Cir. 1984); Dutch Village Mall v. Pelletti, 162 Wash.
App. 531, 256 P.3d 1251 (2011); Lowery v. Hoffman, 188
F.R.D. 651 (M.D. Ala. 1999).
   [11] We find the foregoing authority persuasive. Because
doing business under another name does not create an entity
separate and distinct from the person operating the busi-
ness, we conclude that the prohibition on representation by a
layperson does not apply to a sole proprietorship where the
owner of that entity is representing his or her own interests.
We agree with the district court’s conclusions in this case that
the only judgment in this case was entered against Aquatic
Solutions and that Aquatic Solutions had the right to pur-
sue the appeal of the judgment entered against it. The court
read the complaint in this case as identifying two defend­
ants, both “Aquatic Solutions” and “Drew Lefler.” A better
                              - 949 -
        Nebraska Court of Appeals Advance Sheets
             29 Nebraska Appellate Reports
                SCHMUNK v. AQUATIC SOLUTIONS
                     Cite as 29 Neb. App. 940
interpretation, when the record (including the filings on appeal
to this court) is examined as a whole, might be to identify
a single defendant, “Drew Lefler, doing business as Aquatic
Solutions.” Regardless, it is clear that service was asked for
and accomplished as to a single defendant, “Aquatic Solutions
% Drew Le[f]ler,” and judgment was entered against a single
defendant, “Aquatic Solutions.”
   We have determined that the owner of a sole proprietorship
may represent his or her interests pro se. If Aquatic Solutions
is operated by Lefler as a sole proprietorship, the district court
erred in dismissing the appeal from the small claims court
as a nullity. While we have assumed that Aquatic Solutions
was a sole proprietorship for purposes of the above analy-
sis, based on Lefler’s affidavit filed in this court, the district
court has not addressed that question. We reverse the district
court’s dismissal of Lefler’s appeal and remand the cause for
consideration of the question of whether Aquatic Solutions is
operated by Lefler as a sole proprietorship. In addressing that
question, the court may receive evidence limited to that issue.
In the event that the evidence considered by the court shows
that Aquatic Solutions is operated by Lefler as a sole propri-
etorship, the court is directed to consider the merits of Lefler’s
appeal based on the record made in the small claims court.
                        CONCLUSION
   We conclude that the district court erred in dismissing
Lefler’s appeal from the small claims court judgment with-
out considering Aquatic Solution’s form of business entity.
Accordingly, we reverse the district court’s order and remand
the cause for further proceedings consistent with this opinion.
                               Reversed and remanded for
                               further proceedings.
